               Case 4:24-cv-00558-O Document 3 Filed 06/17/24                           Page 1 of 4 PageID 14
AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                      NorthernDistrict
                                                  __________   Districtofof__________
                                                                            Texas

    SECURITIES AND EXCHANGE COMMISSION
                                                                   )
                                                                   )
                             Plaintiff
                                                                   )
                                v.                                 )      Civil Action No. 4:24-cv-00558
              MATTHEW BROWN and                                    )
         MATTHEW BROWN COMPANIES, LLC                              )
                            Defendant
                                                                   )


                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Matthew Brown
                                         2934 N. Hall, Penthouse 401
                                         Dallas, Texas 75204




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Patrick B. Disbennett
                                         United States Securities and Exchange Commission
                                         Fort Worth Regional Office
                                         801 Cherry Street, Suite 1900
                                         Fort Worth, Texas 76102


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
                Case 4:24-cv-00558-O Document 3 Filed 06/17/24                             Page 2 of 4 PageID 15
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 Civil Action No. 4:24-cv-00558

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                  on (date)                          ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                          ; or

           u I returned the summons unexecuted because                                                                             ; or

           u Other (specify):
                                                                                                                                          .


           My fees are $                           for travel and $                 for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

 Additional information regarding attempted service, etc:
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AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                      NorthernDistrict
                                                  __________   Districtofof__________
                                                                            Texas

    SECURITIES AND EXCHANGE COMMISSION
                                                                    )
                                                                    )
                             Plaintiff
                                                                    )
                                v.                                  )      Civil Action No. 4:24-cv-00558
              MATTHEW BROWN and                                     )
         MATTHEW BROWN COMPANIES, LLC                               )
                            Defendant
                                                                    )


                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Matthew Brown Companies, LLC
                                         c/o LegalInc Corporate Services, Inc., Registered Agent
                                         651 N. Broad St., Suite 206
                                         Middletown, DE 19709




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
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                                                                              CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
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AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

 Civil Action No. 4:24-cv-00558

                                                       PROOF OF SERVICE
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           designated by law to accept service of process on behalf of (name of organization)
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 Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

 Additional information regarding attempted service, etc:
